USCA4 Appeal: 25-1332      Doc: 17        Filed: 05/01/2025     Pg: 1 of 4




                     UNITED STATES COURT OF APPEALS FOR THE
                                 FOURTH CIRCUIT
        _________________________________
                                          )
        JOANN HAYSBERT,                   )
                                          ) Case No. 25-1332
                  v.                      )
                                          )
        OUTBACK STEAKHOUSE                )
        OF FLORIDA, LLC                   )
                                          )

                    APPELLANTS’ MOTION TO CORRECT THE CAPTION

              Appellants JoAnn Wright Haysbert (“Dr. Haysbert”) and Nazareth M.

        Haysbert (“Mr. Haysbert”) respectfully move the Court to correct the caption in

        this appeal to identify both Dr. Haysbert and Mr. Haysbert as appellants.

              Pursuant to Local Rule 27(a), the undersigned has informed counsel for

        Outback Steakhouse of Florida, LLC of the intended filing of this motion, who

        indicated that they do not consent to the granting of this motion.

                                             ARGUMENT

              In the proceedings below, Mr. Haysbert served as trial counsel for Dr.

        Haysbert until the district court revoked his pro hac vice admission. An attorney

        has standing to appeal the revocation of their pro hac vice status. See, e.g., Bulter v.

        Biocore Med. Tech., 348 F.3d 1163, 1166 (10th Cir. 2003) (“Pursuant to 28 U.S.C.

        § 1291 as limited by Article III, we have jurisdiction to hear appeals from the final

        orders of district courts, including post-judgment appeals by attorneys of orders
USCA4 Appeal: 25-1332      Doc: 17        Filed: 05/01/2025    Pg: 2 of 4




        that directly aggrieve them.”) (internal quotation marks omitted); Kirkland v. Nat’l

        Mortg. Network Inc., 884 F.2d 1367, 1369-70 (11th Cir. 1989) (finding that it has

        jurisdiction to hear an appeal by the defendant and its attorney of an order revoking

        the attorney’s pro hac vice admission as part of an appeal from the final judgment);

        Johnson v. Trueblood, 629 F.2d 302, 303 (3d Cir. 1980) (holding that an attorney may

        appeal the revocation of pro hac vice status); see also Belue v. Leventhal, 640 F.3d

        567, 569 (4th Cir. 2011) (hearing an appeal from three attorneys of the revocation

        of their pro hac vice status).

               Federal Rule of Appellate Procedure 3 provides that an appeal is taken by

        filing a notice of appeal that “specif[ies] the party or parties taking the appeal by

        naming each one in the caption or body of the notice.” Fed. R. App. P. 3(a)(1),

        (c)(1)(A). “The purpose of the specificity requirement of Rule 3(c) is to provide

        notice both to the opposition and to the court of the identity of the appellant or

        appellants.” Torres v. Oakland Scavenger Co., 487 U.S. 312, 318 (1988).

               In this case, Dr. Haysbert and Mr. Haysbert filed a notice of appeal specifying

        each as a party taking the appeal. See Exhibit A to Plaintiff ’s Response to

        Defendant’s Notice of Correction Request to the Caption or Style of the Case and

        Request for Further Correction (Doc. 11 at p. 3).1 In other words, both Dr. Haysbert


        1
          Rule 3 further provides that “[w]hen two or more parties are entitled to appeal
        from a district-court judgment or order, and their interests make joinder
        practicable, they may file a joint notice of appeal. They may then proceed on appeal

                                                   2
USCA4 Appeal: 25-1332     Doc: 17         Filed: 05/01/2025     Pg: 3 of 4




        and Mr. Haysbert already are appellants under Rule 3, and this motion seeks only

        the ministerial act of correcting the case caption to reflect that fact.2 Cf. Leonhardt v.

        Western Sugar Co., 160 F. 3d 631, 633-34, 641 (10th Cir. 1998) (granting a motion to

        amend the caption to include an appellant specified in the notice of appeal); see also

        Tchatat v. City of New York, 795 F. App’x 34 (2d Cir. 2019) (summary order) (“We

        regularly amend captions . . . to correct the appellate designation of a party.”).

              Because Dr. Haysbert and Mr. Haysbert have both appealed the district

        court’s judgment, the caption of this case should be corrected to read as follows:

              JoAnn Wright Haysbert and Nazareth M. Haysbert, Appellants, v.
              Outback Steakhouse of Florida, LLC, Appellee.3

              Alternatively, the caption may also be corrected consistent with Local Rule

        12(a), which provides that “[i]f the appellant was not a party to the lower court

        proceeding, the appeal shall be styled ‘In re _____________, Appellant,’ and the




        as a single appellant.” Fed. R. App. P. 3(b)(1). Dr. Haysbert and Mr. Haysbert filed a
        joint notice of appeal because both have an interest in overturning the revocation of
        Mr. Haysbert’s pro hac vice status. Cf. Richardson-Merrell Inc. v. Koller, 472 U.S. 424,
        435, 440 (1985) (referring to the interests of the attorney and the client in an
        appellate remedy for the attorney’s erroneous disqualification).
        2
         Appellants do not consider that, by granting this motion, the Court would be
        expressing any view as to the merits of Mr. Haysbert’s appeal or its jurisdiction
        thereover, which the parties will be able to fully address in their principal briefs.
        3
         Appellants have omitted Bloomin’ Brands, Inc. for the reasons given in
        Defendant's Notice of Correction Request for the Caption or Style of this Case
        (Doc. 10).


                                                    3
USCA4 Appeal: 25-1332      Doc: 17        Filed: 05/01/2025     Pg: 4 of 4




        title of the action in the district court shall also be given.” Therefore, the caption

        may also be corrected to read as follows:

              JoAnn Wright Haysbert, Appellant, v. Outback Steakhouse of Florida,
              LLC, Appellee; In re Nazareth M. Haysbert, Appellant (JoAnn Wright
              Haysbert v. Outback Steakhouse of Florida, LLC).4

                                            CONCLUSION

              For the foregoing reasons, the caption of this appeal should be corrected to

        identify both Dr. Haysbert and Mr. Haysbert as appellants.



        DATED: May 1, 2025                       Respectfully submitted,

                                                 /s/ Judah J. Ariel                      _
                                                 Judah J. Ariel
                                                 ARIEL LAW
                                                 751 Fairmont St. NW #3
                                                 Washington, DC 20001
                                                 (202) 681-3032

                                                 Counsel for Appellants




        4
         Given the apparent tension between Rule 3(b)(1) and Local Rule 12(a) in the case
        of a joint notice of appeal involving an appellant who was not a party to the
        proceedings below, Appellants take no position as between these two alternate
        captions or any variation thereof, provided that Dr. Haysbert and Mr. Haysbert are
        both identified as appellants.


                                                    4
